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ABRAMS & BAYLISS LLP                                      ADA CARBON SOLUTIONS
(COUNSEL TO GOLDMAN, SACHS & CO.)                         (RED RIVER ENVIRONMENTAL PRODUCTS)
KEVIN G. ABRAMS & JOHN M. SEAMAN                          ATTN: PETER O. HANSEN
20 MONTCHANIN ROAD, SUITE 200                             1460 W. CANAL COURT, SUITE 100
WILMINGTON, DE 19807                                      LITTLETON, CO 80120




ADA CARBON SOLUTIONS                                      AEP TEXAS NORTH COMPANY
(RED RIVER ENVIRONMENTAL PRODUCTS)                        ATTN: CHARLES R. PATTON
ATTN: PETER O. HANSEN                                     1 RIVERSIDE PLAZA
8100 S. PARKWAY #A2                                       COLUMBUS, OH 43215-2372
LITTLETON, CO 80120




AKERMAN LLP                                               AKIN GUMP STRAUSS HAUER & FELD LLP
(COUNSEL TO SIEMENS POWER GENERATION INC.)                (COUNSEL TO AD HOC COMMITTEE OF EFIH UNSECURED
ATTN: SUNDEEP S. SIDHU                                    NOTEHOLDERS AND EFIH SECOND LIEN DIP COMMITMENT)
420 S. ORANGE AVENUE, SUITE 1200                          ATTN: IRA DIZENGOFF; ABID QURESHI; STEPHEN BALDINI
ORLANDO, FL 32801-4904                                    MEREDITH LAHAIE; ROBERT BOLLER; CHRISTOPHER CARTY
                                                          LINDSAY ZAHRADKA
                                                          ONE BRYANT PARK, BANK OF AMERICA TOWER
                                                          NEW YORK, NY 10036-6745




AKIN GUMP STRAUSS HAUER & FELD LLP                        ALCOA
(COUNSEL TO AD HOC COMMITTEE OF EFIH UNSECURED            ATTN: MAX W LAUN
NOTEHOLDERS AND EFIH SECOND LIEN DIP COMMITMENT)          201 ISABELLA STREET
ATTN: SCOTT ALBERINO; JOANNA NEWDECK                      PITTSBURGH, PA 15219-5858
ROBERT S. STRAUSS BUILDING
1333 NEW HAMPSHIRE AVENUE, NW
WASHINGTON, DC 20036-1564




ALVAREZ & MARSAL                                          AMECO INC
ATTN: PAUL KINEALY                                        ATTN: DEAN SMITH
55 WEST MONROE, SUITE 4000                                2106 ANDERSON ROAD
CHICAGO, IL 60603                                         GREENVILLE, SC 29611
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AMERICAN STOCK TRANSFER & TRUST CO, LLC                      AMERICAN STOCK TRANSFER & TRUST COMPANY LLC
GENERAL COUNSEL                                              ATTN: PAUL KIM
6201 15TH AVENUE                                             6201 15TH AVENUE
BROOKLYN, NY 11219                                           BROOKLYN, NY 11219




ANDREWS KURTH LLP                                            ASHBY & GEDDES, P.A.
(COUNSEL TO TITUS COUNTY FRESH WATER                         (COUNSEL TO WILMINGTON SAVINGS/WSFS)
SUPPLY DISTRICT NO. 1)                                       ATTN: WILLIAM BOWDEN ESQ & GREGORY TAYLOR ESQ
ATTN: LINO MENDIOLA                                          PO BOX 1150
111 CONGRESS AVENUE SUITE 1700                               WILMINGTON, DE 19899
AUSTIN, TX 78701




ASHER MEDIA INC                                              AUTOMATIC SYSTEMS INC
ATTN: KALYN ASHER                                            ATTN: MICHAEL HOEHN
15303 DALLAS PARKWAY, SUITE 1300                             9230 EAST 47TH STREET
ADDISON, TX 75001                                            KANSAS CITY, MO 64133




BAILEY BRAUER PLLC                                           BAKER BOTTS LLP
(COUNSEL TO PINNACLE TECHNICAL RESOURCES, INC.)              (COUNSEL TO CENTERPOINT)
ATTN: BENJAMIN L. STEWART                                    ATTN: JAMES PRINCE; OMAR J. ALANIZ; IAN E. ROBERTS
CAMPBELL CENTRE I                                            2001 ROSS AVE.
8350 N. CENTRAL EXPY, SUITE 935                              DALLAS, TX 75201-2980
DALLAS, TX 75206




BENCHMARK INDUSTRIAL SERVICES                                BENCHMARK INDUSTRIAL SERVICES
ATTN: MIKE WILCOX                                            ATTN: MIKE WILCOX
2100 STATE HIGHWAY 31 E                                      PO BOX 931
KILGORE, TX 75662                                            KILGORE, TX 75663
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BINGHAM MCCUTCHEN LLP                                      BINGHAM MCCUTCHEN LLP
(COUNSEL TO PACIFIC INVESTMENT MANAGEMENT CO. LLC)         (COUNSEL TO PACIFIC INVESTMENT MANAGEMENT CO. LLP)
ATTN: JULIA FROST-DAVIES ESQ &                             ATTN: JEFFREY S. SABIN ESQ
CHRISTOPHER L. CARTER ESQ                                  399 PARK AVENUE
ONE FEDERAL STREET                                         NEW YORK, NY 10022-4689
BOSTON, MA 02110-1726




BLANK ROME                                                 BLANK ROME LLP
(COUNSEL TO WILMINGTON TRUST, NA)                          (COUNSEL TO WILMINGTON TRUST, NA)
ATTN: MICHAEL DEBAECHE; STANLEY TARR                       ATTN: MICHAEL B. SCHAEDLE
1201 MARKET STREET, SUITE 800                              ONE LOGAN SQUARE
WILMINGTON, DE 19801                                       130 NORTH 18TH STREET
                                                           PHILADELPHIA, PA 19103




BLUME, FAULKNER, SKEEN & NORTHAM, PLLC                     BNSF RAILWAY COMPANY
(COUNSEL TO NATIONAL FIELD SERVICES)                       ATTN: JASON SPENCER
ATTN: BRETTON C. GERARD                                    3001 LOU MENK DR
111 W. SPRING VALLEY ROAD, SUITE 250                       FORT WORTH, TX 76131
RICHARDSON, TX 75081




BNSF RAILWAY COMPANY                                       BNSF RAILWAY COMPANY
ATTN: PETER LEE, SENIOR GENERAL ATTORNEY                   C/O HAYNES & BOONE, LLP
2500 LOU MENK DRIVE                                        ATTN: IAN T. PECK, ESQ.
FORT WORTH, TX 76131-2828                                  201 MAIN STREET, SUITE 2200
                                                           FORT WORTH, TX 76102-3126




BOKF, NA DBA BANK OF ARIZONA                               BOKF, NA DBA BANK OF ARIZONA
ATTN: KEN HOFFMAN                                          ATTN: CYNDI WILKINSON
VICE PRESIDENT                                             SENIOR VICE PRESIDENT
3001 EAST CAMELBACK ROAD, SUITE 100                        3001 EAST CAMELBACK ROAD, SUITE 100
PHOENIX, AZ 85016                                          PHOENIX, AZ 85016
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BRAKE SUPPLY CO INC                                      BRICKFIELD, BURCHETTE, RITTS & STONE, PC
ATTN: DAVID KOCH                                         (COUNSEL TO TEX-LA ELECTRIC COOPERATIVE OF TEXAS)
5501 FOUNDATION BLVD                                     ATTN: CHRISTINE C. RYAN
EVANSVILLE, IN 47725                                     1025 THOMAS JEFFERSON STREET, NW
                                                         WASHINGTON, DC 20007




BROWN & CONNERY, LLP                                     BROWN RUDNICK LLP
(COUNSEL TO SAP INDUSTRIES, INC.)                        (COUNSEL TO WILMINGTON SAVINGS/WSFS)
ATTN: DONALD K. LUDMAN                                   ATTN: EDWARD WEISFELNER ESQ
6 NORTH BROAD STREET, SUITE 100                          SEVEN TIMES SQUARE
WOODBURY, NJ 08096                                       NEW YORK, NY 10036




BROWN RUDNICK LLP                                        BROWN RUDNICK LLP
(COUNSEL TO WILMINGTON SAVINGS/WSFS)                     (COUNSEL TO WILMINGTON SAVINGS/WSFS)
ATTN: JEFFREY JONAS ESQ, ANDREW STREHLE ESQ              ATTN: HOWARD SIEGEL ESQ
JEREMY COFFEY ESQ                                        185 ASYLUM STREET
ONE FINANCIAL CENTER                                     HARTFORD, CT 06103
BOSTON, MA 02111




BROWN RUDNICK LLP                                        BRYAN CAVE LLP
ATTN: JEREMY B. COFFEY                                   (COUNSEL TO INDENTURE TRUSTEE)
SEVEN TIMES SQUARE                                       ATTN: STEPHANIE WICKOUSKI; MICHELLE MCMAHON
NEW YORK, NY 10036                                       1290 AVENUE OF THE AMERICAS
                                                         NEW YORK, NY 10104




BRYAN CAVE LLP                                           BUCHALTER NEMER, A PROFESSIONAL CORPORATION
ATTN: ROBERT E. PEDERSEN                                 (COUNSEL TO ORACLE AMERICA, INC.)
1290 AVENUE OF THE AMERICAS                              ATTN: SHAWN M. CHRISTIANSON
NEW YORK, NY 10104-3300                                  55 SECOND STREET, 17TH FLOOR
                                                         SAN FRANCISCO, CA 94105-3493
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BUCHANAN INGERSOLL & ROONEY PC                                 CAPGEMINI NORTH AMERICA INC
(COUNSEL TO CATERPILLAR FINANCIAL SERVICES CORP.)              ATTN: ISABELLE ROUX-CHENU
ATTN: KATHLEEN A. MURPHY                                       623 FIFTH AVE 33RD FLOOR
919 NORTH MARKET STREET, SUITE 1500                            NEW YORK, NY 10022
WILMINGTON, DE 19801




CARMODY MACDONALD P.C.                                         CENTERPOINT ENERGY HOUSTON
(COUNSEL TO AUTOMATIC SYSTEMS, INC.)                           ROBERT CLAUDE, ESQ., ASSOCIATE GENERAL COUNSEL
ATTN: GREGORY D. WILLARD                                       1111 LOUISIANA STREET
120 S. CENTRAL AVENUE, SUITE 1800                              HOUSTON, TX 77002
SAINT LOUIS, MO 63105




CHADBOURNE & PARKE LLP                                         CIARDI CIARDI & ASTIN
(COUNSEL TO NEXTERA ENERGY RESOURCES, LLC)                     (COUNSEL TO ATMOS ENERGY CORPORATION; TXU
ATTN: HOWARD SEIFE, DAVID M. LEMAY AND                         2007-1 RAILCAR LEASING LLC; RED BALL OXYGEN CO.)
CHRISTY RIVERA                                                 ATTN: DANIEL ASTIN; JOHN MCLAUGHLIN, JR.;
30 ROCKEFELLER PLAZA                                           JOSEPH J. MCMAHON JR
NEW YORK, NY 10112                                             1204 N. KING STREET
                                                               WILMINGTON, DE 19801




CITIBANK, N.A.                                                 CITIBANK, N.A.
ATTN: OWEN COYLE                                               ZORI MIGLIORINI,STANDBY LETTER
1615 BRETT ROAD, OPS III                                       OF CREDIT DEPT, AS FRONTING BANK
NEW CASTLE, DE 19720                                           388 GREENWICH ST, 21ST FL
                                                               NEW YORK, NY 10013




CITIBANK, N.A.                                                 CITIBANK, N.A.
ATTN: ERIC O. LIGAN, VICE PRESIDENT                            BANK LOAN SYNDICATIONS DEPARTMENT
388 GREENWICH ST 32ND FL                                       1615 BRETT ROAD, BUILDING III
NEW YORK, NY 10013                                             NEW CASTLE, DE 19720
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CITIBANK, N.A.                                              CITIBANK, N.A.
ATTN: ANNEMARIE E. PAVCO                                    ATTN: RYAN FALCONE
SECURITIES PROCESSING SENIOR ANALYST                        388 GREENWICH STREET
GLOBAL LOANS, 1615 BRETT RD., OPS III                       NEW YORK, NY 10013
NEW CASTLE, DE 19720




CITY OF FORT WORTH                                          CLEARY GOTTLIEB STEEN & HAMILTON LLP
ATTN: CHRISTOPHER B. MOSLEY                                 (COUNSEL TO J. ARON & COMPANY)
1000 THROCKMORTON STREET                                    ATTN: THOMAS MOLONEY; SEAN O'NEAL; HUMAYUN KHALID
FORT WORTH, TX 76102                                        ONE LIBERTY PLAZA
                                                            NEW YORK, NY 10006




COHEN & GRIGSBY, P.C.                                       COHEN & GRIGSBY, P.C.
(COUNSEL TO WESTINGHOUSE ELECTRIC COMPANY LLC)              (COUNSEL TO NOVA CHEMICALS INC.)
ATTN: WILLIAM E. KELLEHER, JR.                              ATTN: THOMAS D. MAXSON
625 LIBERTY AVENUE                                          625 LIBERTY AVENUE
PITTSBURGH, PA 15222-3152                                   PITTSBURGH, PA 15222-3152




COMPTROLLER OF PUBLIC ACCOUNTS OF THE STATE OF TX           COMPUTERSHARE
OFFICE OF THE TEXAS ATTORNEY GENERAL                        ATTN: TINA VITALE, BA; LL.B.
BANKRUPTCY & COLLECTIONS DIVISION                           480 WASHINGTON BLVD
ATTN: RACHEL OBALDO & JOHN MARK STERN                       JERSEY CITY, NJ 07310
PO BOX 12548
AUSTIN, TX 78711-2548




COMPUTERSHARE TRUST COMPANY OF CANADA                       CONNOLLY GALLAGHER LLP
ATTN: ALESSANDRA PANSERA                                    (COUNSEL TO PACIFIC INVESTMENT MANAGEMENT CO. LLC)
1500, UNIVERSITY ST., SUITE 700                             ATTN: KAREN C. BIFFERATO ESQ & KELLY M. CONLAN ESQ
MONTREAL, QC H3A 3S8                                        1000 WEST STREET, SUITE 1400
CANADA                                                      WILMINGTON, DE 19801
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COURTNEY CONSTRUCTION INC                            COUSINS CHIPMAN & BROWN, LLP
ATTN: KARLOS COURTNEY                                (COUNSEL TO AD HOC COMMITTEE OF EFIH UNSECURED
2617 US HWY 79N                                      NOTEHOLDERS AND EFIH SECOND LIEN DIP COMMITMENT)
CARTHAGE, TX 75633                                   ATTN: SCOTT COUSINS; MARK OLIVERE; ANN KASHISHIAN
                                                     1007 NORTH ORANGE STREET, SUITE 1110
                                                     WILMINGTON, DE 19801




COWLES & THOMPSON                                    COZEN O'CONNOR
(COUNSEL TO ATMOS ENERGY CORPORATION)                (COUNSEL TO J. ARON & COMPANY)
ATTN: STEPHEN C. STAPLETON                           ATTN: MARK E. FELGER
BANK OF AMERICA PLAZA                                1201 NORTH MARKET STREET, SUITE 1001
901 MAIN STREET, SUITE 3900                          WILMINGTON, DE 19801
DALLAS, TX 75202




CRANE NUCLEAR INC                                    CROSS & SIMON, LLC
PRESIDENT OR GENERAL COUNSEL                         (COUNSEL TO FIDELITY MANAGEMENT & RESEARCH CO.)
2825 COBB INTERNATIONAL BLVD NW                      ATTN: MICHAEL J. JOYCE
KENNESAW, GA 30152                                   PO BOX 1380
                                                     WILMINGTON, DE 19899-1380




CROWE & DUNLEVY, PC                                  CSC TRUST COMPANY OF DELAWARE
(COUNSEL TO DEVON ENERGY CORPORATION)                ATTN: SANDRA E. HORWITZ
ATTN: JUDY HAMILTON MORSE                            MANAGING DIRECTOR
20 NORTH BROADWAY, SUITE 1800                        2711 CENTERVILLE RD STE 400
OKLAHOMA CITY, OK 73102                              WILMINGTON, DE 19808




CSC TRUST COMPANY OF DELAWARE                        DATA SYSTEMS & SOLUTIONS LLC
ATTN: SANDRA E. HORWITZ                              (ROLLS ROYCE)
MANAGING DIRECTOR                                    MILES COWDRY,ROLLS-ROYCE CIVIL
2711 CENTERVILLE RD STE 400                          NUCLEAR,994-A EXPLORER BLVD
WILMINGTON, DE 19808                                 HUNTSVILLE, AL 35806
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DAVIS POLK & WARDWELL LLP                                 DENTONS US LLP
(COUNSEL TO GOLDMAN SACHS, ET AL)                         (COUNSEL TO WILMINGTON SAVINGS/WSFS)
ATTN: MARSHALL HUEBNER; BENJAMIN KAMINETZKY;              ATTN: HUGH MCDONALD ESQ, LOUIS CURCIO ESQ
ELLIOT MOSKOWITZ; DAMON MEYER                             OSCAR PINKS ESQ
450 LEXINGTON AVENUE                                      1221 AVENUE OF THE AMERICAS
NEW YORK, NY 10017                                        NEW YORK, NY 10020




DEUTSCHE BANK                                             DEUTSCHE BANK
ATTN: SARA PELTON                                         ATTN: MARCUS M. TARKINGTON
60 WALL STREET (NYCC60-0266)                              60 WALL STREET (NYCC60-0266)
NEW YORK, NY 10005-2836                                   NEW YORK, NY 10005-2836




DRINKER BIDDLE & REATH LLP                                DYKEMA GOSSETT PLLC
(COUNSEL TO CITIBANK NA, TCEH DIP AGENT)                  (COUNSEL TO TEX-LA ELECTRIC COOPERATIVE OF TEXAS)
ATTN: HOWARD A. COHEN & ROBERT K. MALONE                  ATTN: JEFFREY R. FINE
222 DELAWARE AVE., STE. 1410                              1717 MAIN STREET, SUITE 4000
WILMINGTON, DE 19801-1621                                 DALLAS, TX 75201




EMC CORPORATION                                           ENERGY FUTURE HOLDINGS CORP ET AL
C/O RECEIVABLE MANAGEMENT SERVICES (RMS)                  ATTN: ANDREW M WRIGHT
ATTN: RONALD L ROWLAND, AGENT                             1601 BRYAN ST 43RD FL
307 INTERNATIONAL CIRCLE STE 270                          DALLAS, TX 75201
COCKEYSVILLE, MD 21030




EPIQ BANKRUPTY SOLUTIONS, LLC                             FLUOR GLOBAL SERVICES
(CLAIMS AGENT)                                            ATTN: CARLOS M. HERNANDEZ
ATTN: JAMES KATCHADURIAN, E.V.P.                          6700 LAS COLINAS BLVD
757 THIRD AVENUE, 3RD FLOOR                               IRVING, TX 75039
NEW YORK, NY 10017
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FOLEY & LARDNER LLP                                    FOX ROTHSCHILD LLP
(COUNSEL TO UMB BANK, INDENTURE TRUSTEE)               (COUNSEL TO AD HOC GROUP OF TCEH UNSECURED
ATTN: HAROLD KAPLAN ESQ, MARK HEBBELN ESQ              NOTEHOLDERS)
LARS PETERSON ESQ                                      ATTN: JEFFREY SCHLERF; JOHN STROCK; L. JOHN BIRD
321 N CLARK ST STE 2800                                919 NORTH MARKET STREET, SUITE 300
CHICAGO, IL 60654-5313                                 WILMINGTON, DE 19801




FREDERIC DORWART, LAWYERS                              FRIED, FRANK, HARRIS, SHRIVER & JACOBSON LLP
(COUNSEL TO FIRST LIEN TCEH NOTES)                     (COUNSEL TO FIDELITY MANGEMENT & RESEARCH CO.)
ATTN: SAMUEL S. ORY                                    ATTN: BRAD E. SCHELER, GARY L. KAPLAN &
124 EAST FOURTH STREET                                 MATTHEW M. ROOSE
TULSA, OK 74103                                        ONE NEW YORK PLAZA
                                                       NEW YORK, NY 10004




FRISCO CONSTRUCTION SERVICES                           FROST BROWN TODD LLC
ATTN: CLAY THOMAS                                      (COUNSEL TO SITEL, LLC)
9550 JOHN W. ELLIOTT DRIVE, SUITE 106                  ATTN: EDWARD M. KING, ESQ.
FRISCO, TX 75033                                       400 W. MARKET STREET, 32ND FLOOR
                                                       LOUISVILLE, KY 40202




GARDERE WYNNE SEWELL LLP                               GAY, MCCALL, ISAACKS, GORDON & ROBERTS, P.C.
(COUNSEL TO ROMCO EQUIPMENT CO.)                       (COUNSEL TO GARLAND INDEPENDENT SCHOOL DISTRICT &
ATTN: JOHN P. MELKO & MICHAEL K. RIORDAN               CITY OF GARLAND)
1000 LOUISIANA, STE. 3400                              ATTN: DUSTIN L. BANKS
HOUSTON, TX 77002                                      1919 S. SHILOH ROAD, SUITE 310 LB 40
                                                       GARLAND, TX 75042




GELLERT SCALI BUSENKELL & BROWN, LLC                   GENERATOR & MOTOR SERVICES INC
(COUNSEL TO AURELIUS)                                  ATTN: JOHN POZNICK - CONTROLLER
ATTN: MICHAEL G. BUSENKELL                             601 BRADDOCK AVE
913 N. MARKET STREET, 10TH FLOOR                       TURTLE CREEK, PA 15145
WILMINGTON, DE 19801
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GOODWIN PROCTER LLP                                        GRAINGER
(COUNSEL TO AURELIUS CAPITAL MANAGEMENT, LP)               ATTN: JOHN L. HOWARD
ATTN: WILLIAM P. WEINTRAUB; KIZZY L. JARASHOW              100 GRAINGER PKWY
THE NEW YORK TIMES BUILDING                                LAKE FOREST, IL 60045
620 EIGHTH AVENUE
NEW YORK, NY 10018




HAYNES AND BOONE LLP                                       HAYNES AND BOONE LLP
(COUNSEL TO AIRGAS USA, LLC)                               (COUNSEL TO AIRGAS USA, LLC)
ATTN: JONATHAN HOOK                                        ATTN: PATRICK L. HUGHES
30 ROCKEFELLER CENTER, 26TH FLOOR                          1221 MCKINNEY STREET, SUITE 1200
NEW YORK, NY 10112                                         HOUSTON, TX 77010




HAYNES AND BOONE, LLP                                      HCL AMERICA INC
(COUNSEL TO BNSF RAILWAY COMPNAY)                          ATTN: RAGHU RAMAN LAKSHMANAN
ATTN: IAN T. PECK                                          330 POTRERO AVENUE
201 MAIN STREET, SUITE 2200                                SUNNYVALE, CA 94085
FORT WORTH, TX 76102-3126




HEADWATERS RESOURCES INC                                   HINCKLEY ALLEN
ATTN: HARLAN M. HATFIELD                                   (COUNSEL TO INVENSYS SYSTEMS, INC.)
10701 S RIVER FRONT PARKWAY                                ATTN: JENNIFER V. DORAN
SUITE 300                                                  28 STATE STREET
SOUTH JORDAN, UT 84095                                     BOSTON, MA 02109




HOLT TEXAS LTD, D/B/A HOLT CAT                             HYDROCARBON EXCHANGE CORP.
ATTN: MICHAEL PURYEAR, ESQ., GENERAL COUNSEL               ATTN: R SCOTT HOPKINS
3302 SOUTH W.W. WHITE RD                                   5910 N. CENTRAL EXPY.
SAN ANTONIO, TX 78222                                      STE 1380
                                                           DALLAS, TX 75206
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INTERNAL REVENUE SERVICE                                  INTERNAL REVENUE SERVICE
PO BOX 7346                                               DEPARTMENT OF THE TREASURY
PHILADELPHIA, PA 19101-7346                               OGDEN, UT 84201




J & S CONSTRUCTION LLC                                    JACKSON WALKER, LLP
ATTN: JEFF GRODEL                                         (COUNSEL TO HOLT TEXAS, LTD. D/B/A HOLT CAT)
PO BOX 400                                                ATTN: MONICA S. BLACKER
BUFFALO, TX 75831                                         901 MAIN STREET, SUITE 6000
                                                          DALLAS, TX 75202




JACKSON WALKER, LLP                                       JONES DAY
(COUNSEL TO HOLT TEXAS, LTD. D/B/A HOLT CAT)              (COUNSEL TO ONCOR)
ATTN: J. SCOTT ROSE                                       ATTN: PATRICIA VILLAREAL
WESTON CENTRE                                             2727 NORTH HARWOOD STREET
112 E. PECAN STREET, SUITE 2400                           DALLAS, TX 75201
SAN ANTONIO, TX 78205




JONES DAY                                                 KANSAS CITY SOUTHERN RAILWAY (KCS)
(COUNSEL TO ONCOR)                                        ATTN: WILLIAM WOCHNER
ATTN: MICHAEL L. DAVITT                                   427 WEST 12TH STREET
2727 NORTH HARWOOD STREET                                 KANSAS CITY, MO 64105
DALLAS, TX 75201




KANSAS CITY SOUTHERN RAILWAY (KCS)                        KASOWITZ BENSON TORRES & FRIEDMAN LLP
ATTN: WILLIAM WOCHNER                                     (COUNSEL TO AD HOC GROUP OF EFH LEGACY NOTEHOLDER)
PO BOX 219335                                             ATTN: DAVID ROSNER ESQ, ANDREW GLENN ESQ &
KANSAS CITY, MO 64121-9335                                DANIEL FLIMAN ESQ
                                                          1633 BROADWAY
                                                          NEW YORK, NY 10019
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KELLEY DRYE & WARREN LLP                                   KELLY HART & HALLMAN LLP
(COUNSEL TO CSC TRUST OF DE, AS PROPOSED SUCC              (COUNSEL TO ONCOR STEERING COMMITTEE)
INDENTURE TTEE FOR 7.46% & 7.48% TCEH SECURED              ATTN: MICHAEL MCCONNELL ESQ & CLAY TAYLOR ESQ
FACILITY BONDS)                                            KATHERINE THOMAS ESQ
ATTN: JAMES S. CARR, BENJAMINN D. FEDER &                  201 MAIN ST STE 2500
GILBERT R. SAYDAH                                          FORT WORTH, TX 76102
101 PARK AVENUE
NEW YORK, NY 10178




KIRKLAND & ELLIS LLP                                       KIRKLAND & ELLIS LLP
(COUNSEL TO EFHC DEBTORS)                                  (COUNSEL TO EFHC DEBTORS)
ATTN: RICHARD CIERI ESQ, EDWARD SASSOWER PC                ATTN: JAMES H.M. SPRAYREGEN, P.C.
STEPHEN HESSLER ESQ & BRIAN E SCHARTZ ESQ                  CHAD HUSNICK ESQ & STEVEN SERAJEDDINI ESQ
601 LEXINGTON AVE                                          300 N LASALLE
NEW YORK, NY 10022                                         CHICAGO, IL 60654




KLEHR HARRISON HARVEY BRANZBURG LLP                        KRAMER LEVIN NAFTALIS & FRANKEL LLP
(COUNSEL TO UMB BANK, N.A. INDENTURE TRUSTEE)              (COUNSEL TO INDENTURE TRUSTEE)
ATTN: RAYMOND H. LEMISCH                                   ATTN: THOMAS MOERS MAYER; GREGORY HOROWITZ;
919 MARKET STREET, SUITE 1000                              JOSHUA BRODY; PHILIP BENTLEY
WILMINGTON, DE 19801                                       1177 AVENUE OF THE AMERICAS
                                                           NEW YORK, NY 10036




LACKEY HERSHMAN, LLP                                       LANDIS RATH & COBB LLP
(COUNSEL TO THE RICHARDS GROUP INC)                        (COUNSEL TO MARATHON MGMT, ALCOA AND
ATTN: JAMIE R WELTON ESQ                                   NEXTERA ENERGY RESOURCES, LLC)
3102 OAK LAWN AVE STE 777                                  ATTN: ADAM G. LANDIS & MATTHEW B. MCGUIRE
DALLAS, TX 75219                                           919 MARKET ST STE 1800
                                                           WILMINGTON, DE 19801




LAW DEBENTURE TRUST COMPANY OF NEW YORK                    LAW OFFICE OF PATRICIA WILLIAMS PREWITT
ATTN: FRANK GODINO                                         (COUNSEL TO TARGA GAS MARKETING; KINDER MORGAN
VICE PRESIDENT                                             TEXAS PIPELINE; KINDER MORGAN TEJAS PIPELINE LLCS)
400 MADISON AVE, STE 4D                                    ATTN: PATRICIA WILLIAMS PREWITT
NEW YORK, NY 10017                                         10953 VISTA LAKE COURT
                                                           NAVASOTA, TX 77868
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LINEBARGER GOGGAN BLAIR & SAMPSON LLP                         LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
(COUNSEL TO TARRANT & DALLAS COUNTY)                          (COUNSEL TO HARRIS, ANGELINA & FORT BEND COUNTIES)
ATTN: ELIZABETH WELLER ESQ                                    ATTN: JOHN P DILLMAN ESQ
2777 N STEMMONS FREEWAY, SUITE 1000                           PO BOX 3064
DALLAS, TX 75207                                              HOUSTON, TX 77253-3064




LINEBARGER GOGGAN BLAIR & SAMPSON, LLP                        LLOYD GOSSELINK ROCHELLE & TOWNSEND PC
(COUNSEL TO WALNUT SPRINGS ISD, FRANKLIN ISD,                 (COUNSEL TO ONCOR STEERING COMMITTEE)
ROBERTSON CTY, LEE CTY, MCLENNAN CTY, FALLS CTY,              ATTN: GEOFFREY GAY ESQ
ROUND ROCK ISD, NEUCES CTY, LIMESTONE CTY)                    816 CONGRESS AVE STE 1900
ATTN: DIANE WADE SANDERS                                      AUSTIN, TX 78701
P.O. BOX 17428
AUSTIN, TX 78760




LOCKE LORD LLP                                                LOWER COLORADO RIVER AUTHORITY
(COUNSEL TO BP AMERICA PRODUCTION COMPANY)                    ATTN: PHIL WILSON
ATTN: C. DAVIN BOLDISSAR ESQ                                  TRANSMISSION SERVICES CORP
601 POYDRAS ST STE 2660                                       3700 LAKE AUSTIN BLVD.
NEW ORLEANS, LA 70130-6036                                    AUSTIN, TX 78703




LOWER COLORADO RIVER AUTHORITY                                MANION GAYNOR & MANNING LLP
LOWER COLORADO RIVER AUTHORITY TRANSMISSION                   (COUNSEL TO ONCOR STEERING COMMITTEE)
SERVICES CORPORATION (LCRA TSC)                               ATTN: MARC PHILLIPS ESQ
LEGAL SERVICES                                                THE NEMOURS BUILDING
ATTN: WILLIAM T. MEDAILLE                                     1007 N ORANGE ST 10TH FL
PO BOX 220                                                    WILMINGTON, DE 19801
AUSTIN, TX 78767




MARGOLIS EDELSTEIN                                            MCCARTER & ENGLISH, LLP
(COUNSEL TO URS ENERGY & CONSTRUCTION, INC.)                  (COUNSEL TO FIRST LEIN TCEH NOTES)
ATTN: JAMES E. HUGGETT & AMY D. BROWN                         ATTN: KATHARINE L. MAYER
300 DELAWARE AVENUE, SUITE 800                                405 NORTH KING STREET, 8TH FLOOR
WILMINGTON, DE 19801                                          WILMINGTON, DE 19801
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MCCATHERN, PLLC                                           MCCREARY, VESELKA, BRAGG & ALLEN, PC
(COUNSEL TO RED BALL OXYGEN COMPANY)                      (COUNSEL TO TEXAS AD VALOREM TAXING JURISDICTIONS)
ATTN: JONATHAN L. HOWELL                                  ATTN: LEE GORDON
REGENCY PLAZA                                             PO BOX 1269
3710 RAWLINS, SUITE 1600                                  ROUND ROCK, TX 78680
DALLAS, TX 75219




MCKOOL SMITH                                              MCKOOL SMITH
(COUNSEL TO ALCOA)                                        (COUNSEL TO ALCOA)
ATTN: PETER S. GOODMAN; MICHAEL R. CARNEY                 ATTN: PAUL D. MOAK, ESQ.
ONE BRYANT PARK, 47TH FLOOR                               600 TRAVIS STREET, SUITE 7000
NEW YORK, NY 10036                                        HOUSTON, TX 77002




MERICO ABATEMENT CONTRACTORS INC                          MICHAEL G. SMITH
ATTN: ATTN: MIKE CROFFLAND - GENERAL MANAGER              (COUNSEL TO VALERO TEXAS POWER MARKETING, INC.)
201 ESTES DR                                              111 NORTH 6TH STREET
LONGVIEW, TX 75602-6100                                   PO BOX 846
                                                          CLINTON, OK 73601




MILBANK, TWEED, HADLEY & MCCLOY LLP                       MILBANK, TWEED, HADLEY & MCCLOY LLP
(COUNSEL TO CITIBANK NA, TCEH DIP AGENT)                  ATTN: JONATHAN BROWN
ATTN: DENNIS F. DUNNE, EVAN R. FLECK &                    1 CHASE MANHATTAN PLAZA
KAREN GARTENBERG                                          NEW YORK, NY 10005
1 CHASE MANHATTAN PLAZA
NEW YORK, NY 10005




MINE SERVICE LTD                                          MISSOURI DEPARTMENT OF REVENUE
ATTN: KEITH DEBAULT                                       BANKRUPTCY UNIT
855 E US HIGHWAY 79                                       ATTN: STEVEN A. GINTHER
ROCKDALE, TX 76567                                        PO BOX 475
                                                          JEFFERSON CITY, MO 65105-0475
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MORRIS JAMES LLP                                            MORRIS NICHOLS ARSHT & TUNNELL LLP
(COUNSEL TO LAW DEBENTURE TRUST COMPANY OF NY)              (COUNSEL TO THE "EFH EQUITY INTEREST HOLDERS")
ATTN: STEPHEN M. MILLER                                     ATTN: DERK ABBOTT; ANDREW REMMING; ERIN FAY
PO BOX 2306                                                 1201 NORTH MARKET STREET, SUITE 1600
WILMINGTON, DE 19899-2306                                   WILMINGTON, DE 19801




MORRISON & FOERSTER LLP                                     MUNSCH HARDT KOPF & HARR PC
(PROPOSED COUNSEL TO THE EFH CREDITORS COMMITTEE)           (COUNSEL TO ELECTRIC RELIABILITY COUNCIL OF TEXAS/
ATTN: JAMES PECK ESQ, BRETT H MILLER ESQ                    ERCOT)
LORENZO MARINUZZI ESQ                                       ATTN: RUSSELL L MUNSCH ESQ
250 W 55TH ST                                               3050 FROST BANK TOWER
NEW YORK, NY 10019                                          401 CONGRESS AVE
                                                            AUSTIN, TX 78701-4071




MUNSCH HARDT KOPF & HARR PC                                 MYERS HILL
(COUNSEL TO ELECTRIC RELIABILITY COUNCIL OF TEXAS/          (COUNSEL TO PROPERTY TAX PARTNERS)
ERCOT)                                                      ATTN: ROBERT J. MYERS
ATTN: KEVIN M LIPPMAN ESQ                                   2525 RIDGMAR BLVD., STE. 150
500 N AKARD ST STE 3800                                     FORT WORTH, TX 76116
DALLAS, TX 75201-6659




NELSON MULLINS RILEY & SCARBOROUGH LLP                      NIXON PEABODY
(COUNSEL TO MICHELIN NORTH AMERICA INC.)                    (COUNSEL TO AMERICAN STOCK TRANSFER & TRUST CO)
ATTN: JODY A. BEDENBAUGH AND GEORGE B. CAUTHEN              ATTN: RICHARD C. PEDONE; AMANDA D. DARWIN
1320 MAIN STREET, 17TH FLOOR                                100 SUMMER STREET
PO BOX 11070 (29211)                                        BOSTON, MA 02110
COLUMBIA, SC 29201




NORTHEAST TEXAS POWER LTD                                   O'MELVENY & MYERS LLP
ATTN: DAVID PETTY, PRESIDENT                                (COUNSEL TO APOLLO GLOBAL MANAGEMENT, LLC)
PO BOX 557                                                  ATTN: GEORGE A. DAVIS
CUMBY, TX 75433                                             7 TIMES SQUARE
                                                            NEW YORK, NY 10036
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OFFICE OF THE TEXAS ATTORNEY GENERAL                          OFFICE OF THE TEXAS ATTORNEY GENERAL
(COUNSEL TO PUBLIC UTILITY COMMISSION OF TEXAS)               (COUNSEL TO TEXAS COMMISSION ON
ATTN: HAL MORRIS, ASHLEY BARTRAM, NICOLE MIGNONE              ENVIRONMENTAL QUALITY & RAILROAD COMMISSION)
BANKRUPTCY REGULATORY SECTION                                 ATTN: HAL F MORRIS ESQ & ASHLEY BARTRAM ESQ
BANKRUPTCY & COLLECTIONS DIVISION                             BANKRUPTCY REGULATORY SECTION
PO BOX 12548                                                  BANKRUPTCY & COLLECTIONS DIVISION
AUSTIN, TX 78711-2548                                         PO BOX 12548
                                                              AUSTIN, TX 78711-2548




OFFICE OF THE UNITED STATES ATTORNEY                          OFFICE OF THE UNITED STATES TRUSTEE
ATTN: ELLEN SLIGHTS, ESQ.                                     ATTN: RICHARD L. SCHEPACARTER
PO BOX 2046                                                   J. CALEB BOGGS FEDERAL BUILDING
WILMINGTON, DE 19899-2046                                     844 KING STREET, SUITE 2207 - LOCKBOX #35
                                                              WILMINGTON, DE 19801




OFFICE OF THE UNITED STATES TRUSTEE                           PACHULSKI STANG ZIEHL & JONES LLP
U.S. FEDERAL OFFICE BUILDING                                  (COUNSEL TO INDENTURE TRUSTEE)
ATTN: ANDREA SCHWARTZ                                         ATTN: LAURA DAVIS JONES; ROBERT FEINSTEIN
201 VARICK STREET, SUITE 1006                                 PO BOX 8705
NEW YORK, NY 10014                                            WILMINGTON, DE 19899




PATTERSON BELKNAP WEBB & TYLER LLP                            PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
(COUNSEL TO LAW DEBENTURE TRUST COMPANY OF NY)                (COUNSEL TO AD HOC COMMITTEE OF TCEH FIRST LIEN)
ATTN: DANIEL A. LOWENTHAL; CRAIG W. DENT                      ATTN: ALAN KORNBERG; KELLEY CORNISH; BRIAN HERMANN
1133 AVENUE OF THE AMERICAS                                   JACOB ADLERSTEIN
NEW YORK, NY 10036-6710                                       1285 AVENUE OF THE AMERICAS
                                                              NEW YORK, NY 10019




PENSION BENEFIT GUARANTY CORPORATION                          PENSION BENEFIT GUARANTY CORPORATION
OFFICE OF THE CHIEF COUNSEL                                   ATTN: ISRAEL GOLDOWITZ
ATTN: DESIREE M. AMADOR, ATTY                                 1200 K STREET, NW
1200 K STREET, N.W.                                           WASHINGTON, DC 20005-4026
WASHINGTON, DC 20005-4026
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PENSION BENEFIT GUARANTY CORPORATION                           PENSION BENEFIT GUARANTY CORPORATION
ATTN: JON CHATALIAN                                            ATTN: CRAIG YAMAOKA, SENIOR FINANCIAL ANALYST
OFFICE OF THE CHIEF COUNSEL                                    1200 K STREET, NW
1200 K STREET, NW                                              WASHINGTON, DC 20005
WASHINGTON, DC 20005-4026




PERDUE BRANDON FIELDER COLLINS & MOTT LLP                      PERDUE BRANDON FIELDER COLLINS & MOTT LLP
(COUNSEL TO SOMERVELL COUNTY ET AL)                            (COUNSEL TO GALENA PARK ISD)
ATTN: ELIZABETH BANDA CALVO ESQ                                ATTN: OWEN M SONIK ESQ
PO BOX 13430                                                   1235 N LOOP WEST STE 600
ARLINGTON, TX 76094-0430                                       HOUSTON, TX 77008




PERDUE, BRANDON, FIELDER, COLLINS & MOTT, L.P.                 PERFORMANCE CONTRACTING INC
(COUNSEL TO YOUNG CTY, GRAHAM ISD, GRAHAM                      ATTN: CHUCK WILLIAM
HOSPITAL DISTRICT & NORTH CENTRAL TEXAS                        16400 COLLEGE BLVD
COLLEGE DISTRICT)                                              LENEXA, KS 66219
ATTN: JEANMARIE BAER
PO BOX 8188
WICHITA FALLS, TX 76307




PIERCE CONSTRUCTION INC                                        PIERCE CONSTRUCTION INC
ATTN: KENNETH PIERCE                                           ATTN: KENNETH PIERCE - OWNER
4324 STATE HWY 149                                             PO BOX 69
BECKVILLE, TX 75631                                            BECKVILLE, TX 75631




PINCKNEY, WEIDINGER, URBAN & JOYCE LLC                         PINCKNEY, WEIDINGER, URBAN & JOYCE LLC
(COUNSEL TO THERMO FISHER SCIENTIFIC INC. AND ITS              (COUNSEL TO AUTOMATIC SYSTEMS, INC.)
AFFILIATES AND SUBSIDIARIES)                                   ATTN: GREGORY T. DONILON, ESQ.
ATTN: KEVIN M. CAPUZZI                                         1220 NORTH MARKET STREET, SUITE 950
1220 NORTH MARKET STREET, SUITE 950                            WILMINGTON, DE 19801
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POLSINELLI PC                                                POLSINELLI PC
(PROPOSED COUNSEL TO THE EFH CREDITORS COMMITTEE)            (PROPOSED COUNSEL TO THE EFH CREDITORS COMMITTEE)
ATTN: CHRISTOPHER WARD ESQ, JUSTIN EDELSON ESQ               ATTN: EDWARD FOX ESQ
SHANTI KATONA ESQ                                            900 THIRD AVE 21ST FL
222 DELAWARE AVE STE 1101                                    NEW YORK, NY 10022
WILMINGTON, DE 19801




POPE HARDWICKE CHRISTIE SCHELL KELLY & RAY, LLP              POTTER ANDERSON & CORROON LLP
(COUNSEL TO TARRANT REGIONAL WATER DISTRICT &                (COUNSEL TO DEUTSCHE BANK, AGENT TO DIP FINANCING)
NORTH TEXAS MUNICIPAL WATER DISTRICT)                        ATTN: LAURIE SILVERSTEIN ESQ & JEREMY RYAN ESQ
ATTN: MICHAEL L. ATCHLEY; MATTHEW T. TAPLETT                 PO BOX 951
500 WEST 7TH STREET, SUITE 600                               WILMINGTON, DE 19801
FORT WORTH, TX 76102




QUARLES & BRADY LLP                                          RANGER EXCAVATING LP
(COUNSEL TO TXU 2007-1 RAILCAR LEASING LLC)                  ATTN: BRAD MCKENZIE - CONTROLLER
ATTN: HOHN A. HARRIS; JASON D. CURRY                         5222 THUNDER CREEK ROAD
RENAISSANCE ONE                                              AUSTIN, TX 78759
TWO NORTH CENTRAL AVENUE
PHOENIX, AZ 85004-2391




REED SMITH LLP                                               REED SMITH LLP
(COUNSEL TO THE BANK OF NEW YORK MELLON AND THE              (COUNSEL TO THE BANK OF NEW YORK MELLON SOLEY IN
BANK OF NEW YORK MELLON TRUST COMPANY, N.A., AS              ITS CAPACITY AS TRUSTEE UNDER ENUMERATED TRUST)
INDENTURE TRUSTEES)                                          INDENTURE TRUSTEES)
ATTN: KURT F. GWYNE; KIMBERLY E.C. LAWSON                    ATTN: AMY M. TONTI, ESQ.
1201 MARKET STREET, SUITE 1500                               REED SMITH CENTRE
WILMINGTON, DE 19801                                         225 FIFTH AVENUE, SUITE 1200
                                                             PITTSBURGH, PA 15222




REED SMITH LLP                                               REED SMITH LLP
(COUNSEL TO THE BANK OF NEW YORK MELLON, SOLELY              (COUNSEL TO THE BANK OF NEW YORK MELLON SOLEY IN
IN ITS CAPACITY AS TRUSTEE)                                  ITS CAPACITY AS TRUSTEE UNDER ENUMERATED TRUST)
ATTN: RICHARD A. ROBINSON                                    INDENTURE TRUSTEES)
1201 MARKET STREET, SUITE 1500                               1201 MARKET STREET, SUITE 1500
WILMINGTON, DE 19801                                         WILMINGTON, DE 19801
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RICHARDS LAYTON & FINGER                                  ROPES & GRAY LLP
(CO-COUNSEL TO EFHC DEBTORS)                              MARK R. SOMERSTEIN
ATTN: MARK D COLLINS ESQ                                  1211 AVENUE OF THE AMERICAS
DANIEL J DEFRANCESCHI ESQ                                 NEW YORK, NY 10036-8704
JASON M MADRON ESQ
920 N KING ST
WILMINGTON, DE 19801




RYAN PARTNERSHIP (FORMERLY SOLUTIONSET)                   SAUL EWING LLP
ATTN: MARY PERRY                                          (COUNSEL TO ELECTRIC RELIABILITY COUNCIL OF TEXAS/
440 POLARIS PARKWAY                                       ERCOT)
WESTERVILLE, OH 43082                                     ATTN: MARK MINUTI ESQ
                                                          PO BOX 1266
                                                          WILMINGTON, DE 19899




SEARCY & SEARCY, P.C.                                     SECURITAS SECURITY SERVICES USA
(COUNSEL TO D.COURTNEY CONSTRUCTION, INC.)                ATTN: SONIA JASMAN
ATTN: JOSHUA R. SEARCY, JOSHUA P. SEARCY &                2 CAMPUS DRIVE
CALLAN CLARK SEARCY                                       PARSIPPANY, NJ 07054-4400
PO BOX 3929
LONGVIEW, TX 75606




SECURITAS SECURITY SERVICES USA                           SECURITIES AND EXCHANGE COMMISSION
ATTN: LEGAL DEPARTMENT                                    100 F STREET, NE
4330 PARK TCE DRIVE                                       WASHINGTON, DC 20549
WESTLAKE VILLAGE, CA 91361




SEWARD & KISSEL LLP                                       SHAW MAINTENANCE (CB&I)
(COUNSEL TO WILMINGTON TRUST, NA)                         ATTN: RICHARD E. CHANDLER, JR.
ATTN: JOHN ASHMEAD; KALYAN DAS; ARLENE ALVES              C/O CB&I - ONE CB&I PLAZA
ONE BATTERY PARK PLAZA                                    2103 RESEARCH FOREST DRIVE
NEW YORK, NY 10014                                        THE WOODLANDS, TX 77380
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SHEARMAN & STERLING LLP                                     SHEEHY, LOVELACE & MAYFIELD, PC
(COUNSEL TO DEUTSCHE BANK, AGENT TO DIP FINANCING)          (COUNSEL TO CENTRAL TEXAS SECURITY & FIRE
ATTN: FREDERIC SOSNICK ESQ & NED SCHODEK ESQ                EQUIPMENT, INC.)
599 LEXINGTON AVE                                           ATTN: STEVEN M. BURTON
NEW YORK, NY 10022                                          510 N. VALLEY MILLS DR., SUITE 500
                                                            WACO, TX 76710




SITEL LLC                                                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
ATTN: DAVID BECKMAN                                         (COUNSEL TO BOREALIS INFRASTRUCTURE MGMT INC.)
3102 WEST END AVENUE, SUITE 900                             ATTN: MARK S. CHEHI; KRISTHY M. PEGUERO
NASHVILLE, TN 37203                                         PO BOX 636
                                                            WILMINGTON, DE 19899-0636




SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP                    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
(COUNSEL TO BOREALIS INFRASTRUCTURE MGMT INC.)              (COUNSEL TO BOREALIS INFRASTRUCTURE MGMT INC.)
ATTN: JAY M. GOFFMAN                                        ATTN: GEORGE N. PANAGAKIS; CARL T. TULLSON
FOUR TIMES SQUARE                                           155 NORTH WACKER DRIVE, SUITE 2700
NEW YORK, NY 10036-6522                                     CHICAGO, IL 60606-1720




SMITH, KATZENSTEIN & JENKINS LLP                            SNELL & WILMER LLP
(COUNSEL TO AIRGAS USA, LLC & VALERO TEXAS POWER)           (COUNSEL TO HEADWATERS RESOURCES, INC.)
ATTN: KATHLEEN M. MILLER                                    ATTN: DAVID E. LETA
PO BOX 410                                                  15 WEST SOUTH TEMPLE, SUITE 1200
WILMINGTON, DE 19899                                        SALT LAKE CITY, UT 84101




SQUIRE SANDERS (US) LLP                                     STREUSAND, LANDON & OZBURN, LLP
(COUNSEL TO ARCELORMITTLA USA LLC)                          (COUNSEL TO ALLEN SHRODE)
ATTN: STEPHEN D. LERNER & ANDREW M. SIMON                   ATTN: SABRINA L. STREUSAND
221 E. FOURTH ST., SUITE 2900                               811 BARTON SPRINGS RD, STE. 811
CINCINNATI, OH 45202                                        AUSTIN, TX 78704
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SULLIVAN HAZELTINE ALLINSON LLC                            TAGGART GLOBAL LLC
(COUNSEL TO HENRY PRATT COMPANY, LLC)                      ATTN: JOHN LUKE
ATTN: ELIHU E. ALLINSON, III                               C/O FORGE GROUP LTD
901 N. MARKET STREET, SUITE 1300                           4000 TOWN CENTER BLVD., STE 300
WILMINGTON, DE 19801                                       CANONSBURG, PA 15317




TAYLOR ENGLISH DUMA LLP                                    TEAM EXCAVATING
(COUNSEL TO HENRY PRATT COMPANY, LLC)                      ATTN: WAYNE YOST, OWNER
ATTN: STEPHEN C. GREENBERG                                 815 N MAIN STREET
1600 PARKWOOD CIRCLE, SUITE 400                            WRENS, GA 30833
ATLANTA, GA 30339




TEXAS OFFICE OF PUBLIC UTILITY COUNSEL (OPUC)              TEXAS-NEW MEXICO POWER COMPANY
BANKRUPTCY & COLLECTIONS DIVISION                          ATTN: SCOTT SEAMSTER
ATTN: JASON A STARKS, ASST ATTORNEY GENERAL                414 SILVER AVENUE SW
PO BOX 12548                                               ALBUQUERQUE, NM 87102-3289
AUSTIN, TX 78711-2548




THE BAILEY LAW FIRM                                        THE BANK OF NEW YORK MELLON
(COUNSEL TO GABRIEL ROBERSON)                              TRUST COMPANY
ATTN: JAMES F. BAILEY                                      ATTN: RAFAEL MARTINEZ,VP - CSM
3 MILL RD, SUITE 306A                                      601 TRAVIS STREET, 16TH FL
WILMINGTON, DE 19806                                       HOUSTON, TX 77002




THE BANK OF NEW YORK MELLON                                THE BANK OF NEW YORK MELLON
TRUST COMPANY                                              TRUST COMPANY
ATTN: THOMAS VLAHAKIS,VP                                   ATTN: DENNIS ROEMLEIN
385 RIFLE CAMP RD, 3RD FL                                  601 TRAVIS ST, 16TH FLOOR
WOODLAND PARK, NJ 07424                                    HOUSTON, TX 77002
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THE HOGAN FIRM                                             THE HOGAN FIRM
(COUNSEL TO THE RICHARDS GROUP INC)                        (COUNSEL TO AD HOC GROUP OF EFH LEGACY NOTEHOLDER)
ATTN: DANIEL K HOGAN ESQ                                   ATTN: GARVAN F MCDANIEL ESQ
1311 DELAWARE AVENUE                                       1311 DELAWARE AVE
WILMINGTON, DE 19806                                       WILMINGTON, DE 19806




THOMPSON COBURN LLP                                        TPUSA
(COUNSEL TO MARTIN ENGINEERING COMPANY)                    ATTN: JOHN WARREN MAY
ATTN: DAVID D. FARRELL                                     1991 SOUTH 4650 WEST
ONE US BANK PLAZA, SUITE 3200                              SALT LAKE CITY, UT 84104
SAINT LOUIS, MO 63101




TRANSACTEL INC                                             TRAVIS COUNTY
ATTN: GUILLERMO MONTANO                                    ATTN: KAY D. BROCK, ASSISTANT COUNTY ATTORNEY
18 CALLE 25-85 Z.10                                        PO BOX 1748
TORRE TRANSACTEL PRADERA                                   AUSTIN, TX 78767
GUATEMALA CITY,
GUATEMALA




TRENT WIND FARM L.P.                                       TRENT WIND FARM LP
ATTN: CHRISTINE MCGARVEY                                   ATTN: JAY JADWIN & LISA GROFF
TRENT WIND FARM                                            TRENT WIND FARM
1423 CR 131                                                155 W. NATIONWIDE BLVD, SUITE 500
TRENT, TX 79561                                            COLUMBUS, OH 43215




TUCKER ARENSBERG, P.C.                                     UMB BANK, N.A.
(COUNSEL TO THERMO FISHER SCIENTIFIC INC. AND              ATTN: LAURA ROBERSON
AFFILIATES AND SUBSIDIARIES)                               VICE PRESIDENT
ATTN: JORDAN S. BLASK, LARA E. SHIPKOVITZ                  2 SOUTH BROADWAY, SUITE 600
1500 ONE PPG PLACE                                         ST. LOUIS, MO 63102
PITTSBURGH, PA 15222
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UNION PACIFIC RAILROAD COMPANY                                UNITED STATES DEPARTMENT OF JUSTICE
ATTN: MARY ANN KILGORE & JENNIE L. ANDERSON                   (ON BEHALF OF UNITED STATES OF AMERICA, DEPT.
1400 DOUGLAS STREET, STOP 1580                                OF AGRICULTURE, RURAL UTILITIES SERVICE)
OMAHA, NE 68179                                               ATTN: MATTHEW J. TROY
                                                              CIVIL DIVISION
                                                              P.O. BOX 875
                                                              BEN FRANKLIN STATION
                                                              WASHINGTON, DC 20044-0875




US DEPARTMENT OF JUSTICE                                      VEDDER PRICE PC
(COUNSEL TO THE UNITED STATES OF AMERICA)                     (COUNSEL TO FIRST UNION RAIL CORPORATION)
ATTN: ARI D KUNOFSKY ESQ & W BRADLEY RUSSELL ESQ              ATTN: MICHAEL L. SCHEIN, ESQ.
PO BOX 227                                                    1633 BROADWAY, 47TH FLOOR
BEN FRANKLIN STATION                                          NEW YORK, NY 10019
WASHINGTON, DC 20044




WACHTELL, LIPTON, ROSEN & KATZ                                WARFAB
(COUNSEL TO THE "EFH EQUITY INTEREST HOLDERS")                ATTN: CALVIN GRACE - PRESIDENT & CEO
ATTN: RICHARD MASON; EMIL KLEINHAUS; AUSTIN WITT              607 FISHER RD
51 WEST 52ND STREET                                           LONGVIEW, TX 75604
NEW YORK, NY 10019




WEINSTEIN RADCLIFF LLP                                        WESTINGHOUSE ELECTRIC CO LLC
(COUNSEL TO MARIO SINACOLA & SONS EXCAVATING, INC)            ATTN: MIKE SWEENEY SR VP & GENERAL COUNSEL
ATTN: GREGORY M. WEINSTEIN                                    LEGAL & CONTRACTS
6688 N. CENTRAL EXPRESSWAY, SUITE 675                         1000 WESTINGHOUSE DRIVE, SUITE 572A
DALLAS, TX 75206                                              CRANBERRY TOWNSHIP, PA 16066




WEYERHAEUSER CO.                                              WHITE & CASE LLP
ATTN: ALEXIS MCDONALD                                         (COUNSEL TO AD HOC GROUP OF TCEH UNSECURED
PO BOX 9777                                                   NOTEHOLDERS)
FEDERAL WAY, WA 98063                                         ATTN: J. CHRISTOPHER SHORE; GREGORY STARNER
                                                              1155 AVENUE OF THE AMERICAS
                                                              NEW YORK, NY 10036
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WHITE & CASE LLP                                              WILMER CUTLER PICKERING HALE & DORR LLP
(COUNSEL TO AD HOC GROUP OF TCEH UNSECURED                    (COUNSEL TO MARATHON ASSET MGMT)
NOTEHOLDERS)                                                  ATTN: PHILIP ANKER ESQ & GEORGE SHUSTER ESQ
ATTN: THOMAS LAURIA; MATTHEW BROWN                            7 WORLD TRADE CENTER
200 SOUTH BISCAYNE BOULEVARD, SUITE 4900                      250 GREENWICH ST
MIAMI, FL 33131                                               NEW YORK, NY 10007




WILMER CUTLER PICKERING HALE & DORR LLP                       WILMINGTON SVGS FUND SOCIETY
(COUNSEL TO MARATHON ASSET MGMT)                              ATTN: PATRICK J. HEALY
ATTN: BENJAMIN LOVELAND ESQ                                   500 DELAWARE AVENUE
60 STATE ST                                                   WILMINGTON, DE 19801
BOSTON, MA 02109




WILMINGTON TRUST FSB                                          WINSTON & STRAWN LLP
ATTN: JEFFREY T. ROSE                                         (COUNSEL TO CHICAGO BRIDGE & IRON COMPANY N.V.)
50 SOUTH SIXTH STREET, SUITE 1290                             ATTN: DAVID NEIER, ESQ.
MINNEAPOLIS, MN 55402                                         200 PARK AVENUE
                                                              NEW YORK, NY 10166




WOMBLE CARLYLE SANDRIDGE & RICE, LLP                          WOMBLE CARLYLE SANDRIDGE & RICE, LLP
(COUNSEL TO CENTERPOINT)                                      (COUNSEL TO HOLT TEXAS, LTD. D/B/A HOLT CAT)
ATTN: STEVEN K. KORTANEK; MARK L. DESGROSSEILLIERS            ATTN: MARK L. DESGROSSEILLIERS ESQ
222 DELAWARE AVENUE, SUITE 1501                               222 DELAWARE AVE STE 1501
WILMINGTON, DE 19801                                          WILMINGTON, DE 19801




YOUNG CONAWAY STARGATT & TAYLOR, LLP
(COUNSEL TO AD HOC COMMITTEE OF TCEH FIRST LIEN)
ATTN: PAULINE MORGAN; JOEL WAITE; RYAN BARTLEY;
ANDREW MAGAZINER
RODNEY SQUARE
1000 NORTH KING STREET
WILMINGTON, DE 19801
